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                              IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: DOMESTIC DRYWALL                                       MDL NO. 2437
 ANTITRUST LITIGATION                                          13-MD-2437


 THIS DOCUMENT RELATES TO:
 ALL ACTIONS



                                                           ORDER



          AND NOW, this 12th day of May, 2014, it is hereby ORDERED that Defendant’s

Motion to Compel (ECF 99) is GRANTED in part and DENIED in part, for the reasons set forth

in the foregoing memorandum.



                                                                BY THE COURT:

                                                                /s/ Michael M. Baylson
                                                                __________________________________________
                                                                MICHAEL M. BAYLSON, U.S.D.J




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